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UNITED sTATEs DISTRICT CoURT F“‘ED B"'------D-C-
wEsTERN DISTRICT or TENNESSEE
Eastern Division 05 HM 20 ~PH ll’ 30

UNITED sTATES oF AMERICA %Lp;§ &SP§ITSF}OY

W. n oF TN JACKSON
-vs- Case No. 1:05crl0033-001T
MICHAEL RAMIREZ

 

oRDER oF DETENTloN PENDlNc's TRiAL
FlNDlNGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community.

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

DlRECT|ONS REGARD|NG DETENT|ON

MICHAEL RAMIREZ is committed to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. MICHAEL RAMIREZ shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defenda.nt to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: May 20,2005 <§"T/;M agc-__-

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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DISTRIC COURT - WESERNT D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of`the document docketed as number 12 in
case 1:05-CR-10033 was distributed by f`aX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

